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FeO IN THE UNITED STATES DISTRICT COURT
| jaldhf FOR THE NORTHERN DISTRICT OF TEXAS yy ¢r9 25 1 9 35
2019 SEP 13 PAY ¥ FORT WORTH DIVISION wee

DEPUTY nem OF

UNITED STATES OF AMERICA

 

v. No. 4:19-MJ- /O 8
MICHAEL QUEEN (01)

WARRANT FOR ARREST
TO: The United States Marshal and

Any Authorized Officer of the United States

YOU ARE HEREBY COMMANDED to arrest MICHAEL QUEEN, and bring
him forthwith tg the nearest available magistrate to answer a Complaint charging him with
steu 61 Stolen Mail, in violation of 18 U.S.C. § 1708.

   

 

 

 

This warrant was received and executed with the arrest of the above-named
defendant at

 

 

  
 
 
 

 

 

 

DATE RECEIVED: NAME AND SIGNATURE OF
A ICER: | ARRESTING OFFICER
tl (4 Cv\
DATE OF ARREST: 44% Dake

 

 

 

 
